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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: NATIONAL FOOTBALL                      No. 12-md-2323 (AB)
 LEAGUE PLAYERS’ CONCUSSION
 INJURY LITIGATION                             MDL No. 2323


 THIS DOCUMENT RELATES TO:

 Plaintiffs’ Master Administrative Long-
 Form Complaint and:                           PETITION TO ESTABLISH
                                               ATTORNEY’S LIEN
 Robert Holt, et al. v. National Football
 League, et al. (Plaintiffs Kenyon Rasheed
 and Traci Wiedenfeld-Rasheed ONLY)

 Court File No. 2:12-cv-04185-AB


       Petitioner, Brian C. Gudmundson for Zimmerman Reed LLP (“Zimmerman Reed”),

pursuant to Minn. Stat. § 481.13 and pursuant to the executed Agreement for Legal

Services section titled “Termination” petitions and states as follows:

       1.      Petitioner is an attorney at law admitted to practice before the courts of

Minnesota and files this Petition to establish a lien for attorney’s fees as set forth

hereinafter.

       2.      On or about March 12, 2012 Plaintiffs, Kenyon Rasheed and Traci

Wiedenfeld-Rasheed, retained Zimmerman Reed pursuant to an agreement for legal

services, to pursue a claim for injuries and damages allegedly caused by the National

Football League’s conduct associated with football-related concussions, head, and brain

injuries.
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       3. On or about December 26, 2016 Plaintiffs Kenyon Rasheed and Traci

Wiedenfeld-Rasheed terminated their contract with Zimmerman Reed to pursue a claim

with attorney Jennifer Hiete. Zimmerman Reed made a motion to withdraw from further

representation and establish an attorney lien on February 9, 2017 (ECF No. 7136) which

the Court granted on April 24, 2017 (ECF No. 7548).

       4.    On or about October 24, 2017, Plaintiffs Kenyon Rasheed and Traci

Wiedenfeld-Rasheed contacted Zimmerman Reed and advised they would like to rehire

them as counsel. The parties entered into a new retainer agreement on October 30, 1017.

       5.    On November 9, 2017, Zimmerman Reed filed a Withdrawal of Attorney

Lien and entered a Notice of Appearance (ECF No. 8912).

       6.    On or about March 22, 2022, Plaintiffs notified Zimmerman Reed via email

that they again wished to terminate Zimmerman Reed as their attorneys. Thereafter,

Zimmerman Reed attorney Brian Gudmundson contacted Plaintiff Kenyon Rasheed via

telephone to attempt to discuss the termination and understand how Plaintiffs’ rights would

be preserved and represented going forward. Plaintiff Kenyon Rasheed cordially advised

Mr. Gudmundson that Plaintiffs wished to terminate Zimmerman Reed, without cause, but

declined to elaborate further. No additional information was provided to attorney Brian

Gudmundson at that time. Attorney Brian Gudmundson advised Plaintiff Kenyon Rasheed

that Zimmerman Reed would honor Plaintiffs’ right to terminate Zimmerman Reed as their

counsel and would withdraw from any further representation.

      7.     Regarding attorneys’ fees, the operative agreement for legal services

between Plaintiffs and Zimmerman Reed states, among other things: If no recovery (by
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settlement or trial) is obtained client will not owe a legal fee. If Zimmerman Reed obtains

a settlement or judgment for Client, Client will pay to Zimmerman Reed twenty percent

(20%) of the gross recovery plus reimbursement of expenses.

       8.     When Zimmerman Reed entered into a contract with Plaintiffs, it entered into

the risk and expense of the litigation before any settlement discussion had been held.

Pursuant to this agreement, Zimmerman Reed filed a Complaint on Plaintiffs’ behalf on

July 23, 2012, which is the subject of the instant action.

       9.     At all times during its representation, Plaintiffs authorized Zimmerman Reed

to proceed on their behalf, Zimmerman Reed actively and diligently investigated, prepared,

and pursued Plaintiffs’ claims, and took all steps necessary to prosecute those claims,

including, but not limited to, the preparation and filing of complaints, correspondence and

communications with the clients, preparation and review of clients factual and legal

circumstances, retaining experts, drafting and providing client updates, analyzing Plaintiff

Kenyon Rasheed’s medical status and need for medical testing, obtaining medical testing

through the Baseline Assessment Program, and more.

       10.    During the litigation, Zimmerman Reed partner, Charles S. Zimmerman,

served on the Plaintiffs’ Steering Committee, which has inured to the Plaintiffs’ benefit.

       11.    Plaintiffs did not terminate Zimmerman Reed due to any malfeasance or

other improper action.

       12.    Zimmerman Reed claims the right to have a lien for attorneys’ fees and

expenses established and enforced upon any sums to be derived from any settlement or

judgment obtained or to be obtained by Plaintiffs in this action.
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          WHEREFORE, the Petitioner prays:

          1.    That an attorney’s lien be established;

          2.    That the amount of the lien be determined;

          3.    That the Court order that Zimmerman Reed be entitled to enforce an

attorney’s lien against the proceeds to be derived from any settlement or judgment in this

action;

          4.    That the Defendant or the Defendant’s insurer be prohibited from paying to

the Plaintiffs any sums of money until said lien has been satisfied; and

          5.    For such other further relief as this Court deems just.

Dated: April 7, 2022                               Respectfully submitted,

                                                   ZIMMERMAN REED LLP

                                                    s/ Brian C. Gudmundson
                                                   J. Gordon Rudd, Jr. (#222082)
                                                   Brian C. Gudmundson (#336695)
                                                   Michael J. Laird (#0398436)
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                            CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing Petition to Establish Attorney’s Lien to

be served via the Electronic Case Filing (ECF) system in the United States District Court

for the Eastern District of Pennsylvania, on all parties registered for CM/ECF in the

litigation.

Dated: April 7, 2022                             ZIMMERMAN REED LLP


                                                  s/ Brian C. Gudmundson
                                                 J. Gordon Rudd, Jr. (#222082)
                                                 Brian C. Gudmundson (#336695)
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